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 1
       ILYA ALEKSEYEFF [CA 242462]
 2        ilya@loia.legal
 3     LOIA, INC. (APLC)
       727 W 7th St PH 1-13
 4     Los Angeles, CA 90017
 5     Tel: (213)537-4592
 6
       Attorney for Artur Elizarov
 7
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
        GOLDWATER BANK, NA,                     5:21-cv-616-JWH-SPx
11
12                                    Plaintiff, REPLY MEMORANDUM
13                                               SUPPORTING MOTION FOR RULE
        vs.                                      11 SANCTIONS
14
15      ARTUR ELIZAROV, ET AL.,                 Date: 10/21/2022
16                                              Time: 9:00 AM
                                     Defendant. Court: Hon. John W. Holcomb
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 1                                   ADDITIONAL FACTS
 2           On or before March 28, 2022, Goldwater had to provide certain records that
 3     Elizarov requested in discovery, to wit: all internal Goldwater emails relating to
 4     this case (request 24), description of the underwriting process (request 28), all
 5     internal records relating to Elizarov’s loan application (request 29), and records
 6     that describe Goldwater’s COVID-19 related forbearance process (request 37).
 7     Exhibit XX.
 8           On September 2, 2022, more than five months after the original due date and
 9     just a week prior to Peter Hill’s1 deposition on September 9, 2022, counselors
10     dumped 713 pages of additional documents, including four internal Goldwater
11     emails. Exhibit YY, ZZ, AAA, BBB & CCC. These emails showed the following:
12           As of 6:00 pm on March 25, 2021, Peter Hill knew that the deed of trust was
13     unrecorded, the bank had no title policy, First American Title Company had no
14     record of Goldwater’s deed of trust, Riverside would not let the bank record a copy
15     of the deed of trust, and Elizarov was trying to close without paying Goldwater.
16     Exhibit ZZ-2 (highlighted). In his subsequent testimony, Hill confirmed that as of
17     March 25, 2021, Hill believed that Elizarov had changed Elizarov’s mind about
18     settling with the bank wanted to close without paying the bank in full. Exhibit
19     FFF-9.
20           As of 8:07 am on March 26, 2021, Goldwater had located the original
21     unrecorded deed of trust. Exhibit AAA-1-2. At 2:31 pm on March 26, 2021, Hill
22     requested that the original be sent by overnight to Hill in Phoenix. Exhibit BBB-1.
23           The bank sent the original deed of trust to First American for recording on
24     March 30, 2021, for delivery by 8:00 am the next day. Exhibit CCC-1.
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27     1
              Peter Hill is Goldwater’s president and Chief Credit Officer who previously
28     verified Goldwater’s amended verified complaint. Exhibit OO [44].
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 1           Then on September 30, 2022, counselors dumped even more records.
 2     Exhibit DDD. In addition to records that Goldwater had obtained from third
 3     parties, this disclosure included an email from Goldwater’s underwriter Joyce
 4     Eggli where, on July 24, 2019, Egglie confirmed the following: “Branch has
 5     provided a copy of the release and settlement for BMW.” Exhibit EEE-3.
 6           At his deposition, Hill subsequently confirmed that the bank had the original
 7     deed of trust as early as 8:00 am on March 26, 2021, and requested the deed to be
 8     sent to him because he “was in contact with First American Title company about
 9     recording under their original issued title insurance policy.” Exhibit FFF-12. Hill
10     also confirmed that Hill started “making…efforts to record the deed of trust with
11     Mr. Elizarov’s signature as soon as the deed of trust was located on March 26th.”
12     Exhibit FFF-13. His efforts were unsuccessful because “First
13     American…took…two or three days to inform [him] that the transaction on the
14     sale had already occurred and that they would not record [the deed of trust].”
15     Exhibit FFF-13. Hill made “other attempt to do a recording directly with
16     Riverside County” but ultimately “just ran into a number of obstacles in being able
17     to do that [recording] on a timely basis.” Exhibit FFF-13.
18           Finally, Hill testified as follows:
19
20           Fannie Mae is the gold standard, if you will, for all sorts of documentation
             relating to mortgage loans. It's the accepted standard across the industry.
21           You comply with that standard so that your documentation is proper should
22           you sell that phone through the secondary markets, being Fannie Mae,
             Freddie Mac or maybe you have it placed in a Ginnie Mae security. And it's
23           intended for conformity and the industry standard is set my Fannie Mae. We
24           conduct all of our mortgage business to Fannie Mae standards whether we
25           sell it through to the secondary market or retain it in our portfolio here in the
             bank.
26
27     Exhibit FFF-7. As a follow up, Hill also confirmed that Elizarov’s “loan was
28     underwritten to Fannie Mae standards, documented to Fannie Mae standards and
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 1     serviced to Fannie Mae standards,” Exhibit FFF-16 (italics added), and that the
 2     “forbearance process that Weststar implemented on behalf of Goldwater…was
 3     intended to be consistent with Fannie standards as well as guidance by the CARES
 4     Act,” Exhibit FFF-15.
 5            To date, Goldwater has deliberately failed to produce any records relating to
 6     the underwriting process (request 28) or the forbearance process (request 37).2
 7     Exhibit XX.
 8                                        ARGUMENT
 9            I.     Counselors filed the allegations against Elizarov without an
10     evidentiary or legal basis
11            A.     Unjust enrichment
12            Unjust enrichment is unavailable in a case that seeks to enforce a valid
13     agreement. In alleging this claim, counselors certified that this claim had
14     evidentiary support. But then counselors had Peter Hill conclusively allege under
15     oath that Goldwater’s agreement was Elizarov was valid and enforceable.
16     Therefore, counselors not only lacked evidence to support this claim but cannot
17     legally offer any such evidence.
18            The court’s prior ruling on the motion to dismiss under Rule 12(b) does not
19     change this analysis. The motion to dismiss was not concerned with evidence.
20     Rather, the motion to dismiss tested “the legal sufficiency of [Goldwater’s]
21     complaint, assuming the facts as alleged.” State of Or. City of Rajneeshpuram, 598
22     F. Supp. 1208, 1210 (D. Or. 1984) (italics added). In opposing the Rule 12(b)
23     motion, Goldwater did not have to convince the court that its counsel had an
24     evidentiary basis to support his claim, and the court considered none in ruling as it
25     did.
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27     2
             Elizarov’s motion to compel Goldwater’s response to these and many other
28     outstanding discovery requests [184] is under submission [196].
                                                3
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 1           This motion, by contrast, does test the evidentiary basis for this claim.
 2     Fed.R.Civ.P. 11(b)(3). Therefore, Goldwater’s counsel had the duty to present –
 3     and this court has the corresponding duty to consider – the evidentiary basis
 4     supporting counselor’s factual assertions in the complaint.
 5           B.     Fraud in the loan application
 6           Goldwater claims that Elizarov lied about his marital status, failed to
 7     disclose a pending BMW lawsuit, and failed to disclose the IRS tax lien. In his
 8     motion, Elizarov offered uncontroverted evidence that he did disclose both his
 9     marital status and the BMW lawsuits in text messages to Goldwater’s loan officer,
10     who then completed the application on Elizarov’s behalf. Since then, an email
11     from Goldwater’s underwriter Ms. Eggli 3 further confirms that Goldwater knew
12     about the lawsuit. Exhibit EEE-3 (“Branch has provided a copy of the release and
13     settlement for BMW.”)
14           Counselors had access to these records but failed to review them before they
15     filed the claim. Therefore, counselors violated rule 11.
16           As for the marital status, Elizarov also explained that the ECOA did not
17     allow Goldwater to consider Elizarov’s marital status in making its lending
18     decision. Before they filed the claim, counselors had the duty to review this
19     statute. Counselors failed to do so. (Since counselors failed to address this issue in
20     their opposition, the court may consider the issue conceded. Tristan Justice v.
21     Rockwell Collins, Inc., 117 F. Supp. 3d 1119, 1134 (D. Or. 2015) (“[i]f a party
22     fails to counter an argument that the opposing party makes in a motion, the court
23     may treat that argument as conceded”), citing Bojorquez v. Wells Fargo Bank,
24     NA, 2013 WL 6055258, *5 (D.Or. Nov. 7, 2013).
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             Although Elizarov requested these emails back in February, Goldwater’s
       counsel deliberately and without justification concealed these records until
28     September 30th. Exhibit DDD.
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 1           Finally, Elizarov offered overwhelming and irrefutable evidence that he did
 2     not have the IRS debt because he paid it eighteen months earlier when Elizarov
 3     sold a residence in Valley Village. Although counselors may not have known
 4     about this fact when they filed the complaint, they know the truth now and have the
 5     duty not to pursue this claim any further. However, by not conceding this issue,
 6     counselors indicated their desire to pursue this frivolous claim.
 7           C.     Fraud in assistance application
 8           Goldwater alleged that Elizarov lied about his income and assets in the
 9     assistance application and that Goldwater relied on these representations in
10     granting mortgage assistance. Under the law, counselors could present this claim if
11     and only if the information about Elizarov’s income and assets was material to
12     Goldwater’s decision. The information was material if and only if a reasonable
13     bank in Goldwater’s circumstances would have considered this information in
14     making the forbearance decision. By corollary, if a bank like Goldwater could not
15     have considered Elizarov’s income or assets in making the assistance decision,
16     then the information is not material, and Goldwater could not, as a matter of law,
17     have relied on the information.
18           In response to the pandemic, Congress enacted – and President Trump
19     signed into law – the CARES Act. This law required certain mortgage lenders to
20     grant borrowers forbearance based on a mere declaration of hardship and
21     prohibited lenders from requiring any evidence of hardship, including information
22     about income or assets.
23           In his motion, Elizarov offered extensive evidence that Goldwater’s loan
24     was subject to the CARES Act. In opposition, Goldwater asserted that “Elizarov’s
25     loan was not a federal loan subject to the CARES Act provision” [197 (p. 16 ln.
26     17)] but offered no evidence to support this assertion. See Singh v. I.N.S., 213 F.3d
27     1050, 1054 n.8 (9th Cir. 2000) (arguments of counsel it not evidence);
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 1   Runningeagle v. Ryan, 686 F.3d 758, 776 (9th Cir. 2012) (same). Therefore,
 2   Elizarov’s evidence controls.
 3         Since then, Goldwater’s president Gregory Hill (who also signed the
 4   complaint under oath on Goldwater’s behalf) testified that Elizarov’s “loan was
 5   underwritten to Fannie Mae standard, documented to Fannie Mae standards and
 6   services to Fannie Mae standards,” Exhibit FFF-16 (italics added), which required
 7   lenders to follow the CARES Act, Exhibit CC-7 (highlighted text); and the bank’s
 8   forbearance process “was intended to be consistent with Fannie standards as well
 9   as guidance by the CARES Act”, Exhibit FFF-15 (italics added). So, even if
10   Elizarov’s loan was not federally backed, Hill’s testimony confirms that the bank
11   voluntarily decided to comply with Fannie Mae guidance, including the CARES
12   Act’s requirements.
13         Finally, Goldwater has yet to provide Elizarov any “records that mention or
14   describe the guidelines or criteria for approving the COVID-19 related requests to
15   forbear mortgage loan payments that GOLDWATER used or applied at the time
16   ELIZAROV submitted FORBEARANCE APPLICATION to GOLDWATER,
17   including any drafts that were ultimately rejected,” which Elizarov requested in
18   February. Exhibit XX-6 (request 37). If these records exist (and they must), then
19   counselors’ failure to disclose these records to Mr. Elizarov can only mean one
20   thing: these records will confirm that the CARES Act applied and that contrary to
21   counselors’ allegations, Mr. Elizarov’s income and assets were immaterial to the
22   assistance decisions. See also Park Inns Intern. v. Pacific Plaza Hotels, 5 F. Supp.
23   2d 762, 765 fn. 2 (D. Ariz. 1998) (“when a party has relevant evidence within its
24   control which it fails to produce, that failure gives rise to an inference that the
25   evidence is unfavorable to the party”), citing Rockingham Machine-Lunex Co. v.
26   N.L.R.B., 665 F.2d 303, 304 (8th Cir. 1981) and Akiona v. United States, 938 F.2d
27   158, 160-61 (9th Cir. 1991). And if counselors deliberately concealed this
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 1   evidence, counselors’ conduct shows that counselors knew that Goldwater’s fraud
 2   claim lacks merit but still filed (and continued to pursue) the claim in this case.
 3         D.     Fraud during negotiations
 4         Citing Tenzer v. Superscope, Inc., 39 Cal.3d 18, 29 (Cal. 1985), Elizarov
 5   argued in his motion that the claim for fraud during settlement negotiations was not
 6   based on the law because “an action for fraud cannot be maintained where the
 7   allegedly fraudulent promise is unenforceable as a contract due to the statute of
 8   frauds.” [183 (p. 15)] Although counselors correctly point out that the next
 9   paragraph disapproved of this language4, the court reiterated that “proof that a
10   promise was made and that it was not fulfilled” is not sufficient to constitute fraud.
11   Id. at p. 30. “Rather, ‘something more than nonperformance is required to prove
12   the defendant's intent not to perform his promise.’ [Citations.]” Id. So, “if plaintiff
13   adduced no further evidence of fraudulent intent than proof of nonperformance of
14   an oral promise,” the claim must fail, and plaintiff “will never reach a jury.” Id. at
15   ¶. 30-31.
16         Here, Goldwater claimed that Elizarov promised to pay Goldwater
17   $675,000, Goldwater relied on this promise, but Elizarov reneged. Therefore,
18   Goldwater’s fraud claim is directly based on Elizarov’s alleged failure to abide by
19   the oral promise. This type of fraud remains invalid under Tenzer because the
20   claim relies solely on Elizarov’s nonperformance of the oral promise.
21         But this issue aside, the recently disclosed evidence (which counselors
22   deliberately concealed for months) independently shows that this fraud claim has
23   never had merit.
24         To sue Elizarov for fraud, Goldwater must have evidence that Goldwater
25   actually relied on Elizarov’s promise to pay. Mirkin v. Wasserman, 5 Cal.4th
26   1082, 1088 (Cal. 1993) (“It is settled that a plaintiff, to state a cause of action for
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28   4
           Alekseyeff regrets this embarrassing oversight.
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 1   deceit based on a misrepresentation, must plead that he or she actually relied on the
 2   misrepresentation”). “After establishing actual reliance, [Goldwater] must
 3   [further] show that the reliance was reasonable by showing that … it was
 4   reasonable for [Goldwater] to have relied on the misrepresentation.” Hoffman v.
 5   162 North Wolfe LLC, 228 Cal.App.4th 1178, 1194 (Cal. Ct. App. 2014). In
 6   Goldwater’s complaint, counselors alleged that Goldwater reasonably relied on the
 7   misrepresentations by not rushing to record the Deed of Trust. Exhibit OO-13 (¶
 8   102-104). Goldwater re-iterated its position in discovery as well as follows:
 9   “Goldwater relied on Elizarov’s assurances that Goldwater would receive a
10   substantial payout following the sale of the Palm Springs House. In the absence of
11   these assurances, Goldwater would have sought to record its Deed of Trust prior to
12   the sale of the Palm Springs House.” Exhibit GGG-3 (highlighted text). 5
13         This argument was yet another lie. Here’s what Goldwater’s recently
14   disclosed records show. By 6:00 pm on March 25, 2021, Peter Hill knew that the
15   bank’s “Deed of Trust did not get recorded,” the bank had no “title policy,” “First
16   American [had] no record of [the bank’s] Deed of Trust,” “Riverside County
17   California [would] not let [the bank] record a copy of the Deed of Trust,” and
18   “Elizarov [was] trying to close without paying [the bank].” Exhibit ZZ-2
19   (highlighted text). By 8:07 am on March 26, 2021, the bank had located the
20   original. Exhibit AAA-1-2 (highlighted text). The same day, Peter Hill requested
21   that the deed be sent to him. Exhibit BBB-1 (highlighted text). And the bank sent
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24   5
            Alekseyeff did not make this argument in his initial motion because
     Goldwater’s counsel had deliberately concealed Goldwater’s emails from
25
     Alekseyeff nor Hill’s testimony, which, collectively, have exposed Goldwater’s
26   reliance argument as a lie. Had all the requested emails been timely disclosed,
27   Elizarov would have addressed this argument in his moving papers. Therefore,
     Goldwater and its counsel cannot fault Elizarov for his failure to address this issue
28   in the moving papers.
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 1   the original deed of trust to First American on March 30, 2021. Exhibit CCC-1
 2   (highlighted text).
 3         When presented with these and other records 6, Hill then testified under oath
 4   that as of March 25, 2021, Hill believed that “Mr. Elizarov had changed his mind
 5   in trying to settle with the bank,” Exhibit FFF-9-10, and “ was trying to close this
 6   deal without paying Goldwater the balance due under the note,” Exhibit FFF-9.
 7   He also confirmed that “Goldwater Bank had located the original deed of trust with
 8   Mr. Elizarov’s original signature that was suitable for recording” on March 26,
 9   2021, Exhibit FFF-12; Hill “start[ed] making those efforts to record the deed of
10   trust with Mr. Elizarov’s signature as soon as the deed of trust was located on
11   March 26th,” Exhibit FFF-13; but “First American…took…two or three days to
12   inform [Hill] that the transaction on the sale had already occurred and that they
13   would not record it” while Hill’s “other attempts to do a recording directly with
14   Riverside County…ran into a number of obstacles in being able to do that
15   [recording] on a timely basis,” Exhibit FFF-13.
16         This evidence conclusively negates Goldwater’s claim of reliance. Contrary
17   to Goldwater’s theory of prosecution, Goldwater did not delay trying to record the
18   deed of trust in reliance on Elizarov’s promise to pay but instead immediately tried
19   to get the deed of trust recorded. Its efforts failed because Goldwater could not
20   record a copy of the deed and sent the deed to First American on March 30th after
21   the transaction in this case had closed on March 29th. Exhibit GG (deed was
22   recorded on March 29th.) Therefore, Goldwater did not rely on Elizarov’s
23   allegedly fraudulent promise.
24         Nor was Goldwater’s reliance reasonable. By Hill’s own admission under
25   oath, Hill knew on March 25th that Elizarov had changed his mind about trying to
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27   6
           To reiterate, Elizarov requested these records on February 18, 2022, Exhibit
28   XX-1, but did not receive them until September 2, 2022, Exhibit YY.
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 1   settle with the bank and intended to close the transaction without paying
 2   Goldwater. “[I]n light of [Hill’s] own intelligence and information,’ Goldwater’s
 3   claim that Goldwater continued to rely on Elizarov’s promise to pay after the
 4   events on March 25th is “manifestly unreasonable” and cannot possibly support the
 5   fraud claim. Thrifty Payless, Inc. v. The Americana at Brand, LLC, 218
 6   Cal.App.4th 1230, 1239 (Cal. Ct. App. 2013).
 7         All counselors had access to this evidence, including Peter Hill’s statements,
 8   but failed to review it before they filed the claim. Therefore, counselors violated
 9   Rule 11.
10         E.     Conspiracy
11         To prove conspiracy, counselors had to have evidence that Alekseyeff knew
12   that Elizarov had planned to commit fraud, agreed with Elizarov to commit fraud,
13   and owed Goldwater duty to disclose independent of the conspiracy claim. In
14   discovery, Goldwater made it clear that such evidence did not exist.
15         In response, counselors did not point to any evidence of conspiracy that they
16   had before they filed their claim. Rather, counselors cited Elizarov’s domestic
17   partnership to Alekseyeff and listed actions that Alekseyeff took after April 1,
18   2021, long after the alleged fraud had been committed: July of 2019 for the alleged
19   fraud in the loan application, May 2020 for the alleged fraud in the assistance
20   application, and March 25, 2021, for the alleged fraud during settlement
21   negotiations. None of these facts can support a conspiracy claim because
22   Alekseyeff committed these acts after the alleged torts had been completed.
23   Kidron v. Movie Acquisition Corp., 40 Cal.App.4th 1571, 1592-1593 (Cal. Ct.
24   App. 1995 ) (conspiracy to defraud claim failed as defendant could not
25   conspire after the fact to commit an already completed tort); General Advertising
26   Agency, Inc. v. Komer, 251 Cal.App.2d 805, 812 (Cal. Ct. App. 1967) (reversing
27   judgment based on conspiracy to commit an already completed tort); Wyatt v.
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 1   Union Mortgage Co., 24 Cal.3d 773 (Cal. 1979) (conspiracy to commit a tort is
 2   completed when the last act induced by the conspiracy has been completed).
 3         Finally, counselors offered no evidence that Alekseyeff owed an
 4   independent duty to Goldwater. Everest Investors 8 v. Whitehall Real Estate
 5   Limited Partnership XI, 100 Cal.App.4th 1102, 1106, 1107-1108 (Cal. Ct. App.
 6   2002) (“By its nature, tort liability arising from a conspiracy presupposes that the
 7   conspirator is legally capable of committing the tort-that he owes a duty to the
 8   plaintiff recognized by law and is potentially subject to liability for the breach of
 9   that duty”); Applied Equipment Corp. v. Litton Saudi Arabia Ltd., 7 Cal.4th 503,
10   510-511, 514 (Cal. 1994) (A civil conspiracy cause of action is not an
11   “independent tort;” it allows tort recovery only where the conspirator “is legally
12   capable of committing the tort, i.e., that he or she owes a duty to plaintiff
13   recognized by law and is potentially subject to liability for breach of that duty.”)
14         Therefore, counselors violated Rule 11.
15         F.     Fraudulent transfer
16         In Wyzard v. Goller, 23 Cal.App.4th 1183 (Cal. Ct. App. 1994), on which
17   the court in Lyons relied, the court had to resolve the following issue: “whether a
18   preferential transfer, if made for proper consideration … but with recognition that
19   the transfer will effectively prevent another creditor from collecting on his debt, is
20   one made with ‘actual intent to hinder, delay, or defraud’ that creditor.” Id. at p.
21   1189 (italics added). In answering this issue in the negative, the court affirmed the
22   rule that has existed for over 400 years, recognized in California long before the
23   state adopted the Act, and echoed a similar conclusion in other jurisdictions. Id. at
24   p. 1189-1190. Under this rule, the transfer is “fraudulent” only if the transfer was
25   made other than for proper consideration, which includes “value…given for…an
26   obligation if, in exchange for the transfer or obligation, …an antecedent debt is
27   secured or satisfied.” Cal. Civ. Code, § 3439.03.
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            REPLY MEMORANDUM SUPPORTING MOTION FOR RULE 11
                             SANCTIONS
 Case 5:21-cv-00616-JWH-SP Document 206 Filed 10/07/22 Page 16 of 17 Page ID #:3991




 1         Although Elizarov paid a debt held in Alekseyeff’s name, Elizarov was
 2   legally liable for that debt. “[T]he community estate is liable for a debt incurred by
 3   either spouse before or during marriage, regardless of which spouse has the
 4   management and control of the property and regardless of whether one or both
 5   spouses are parties to the debt or to a judgment for the debt.” Cal. Fam. Code §
 6   910, subd. (a). Elizarov and Alekseyeff had been in a domestic partnership for
 7   twenty years. Alekseyeff incurred the debt in 2020. Under section 910, Elizarov
 8   was equally liable for Alekseyeff’s debt. Therefore, at the time of the payment,
 9   Elizarov effectively preferred one of legally his creditor – Shatar Capital – over
10   another – Goldwater. California law explicitly allowed Elizarov to do that.
11         Therefore, counselors had no factual or legal basis to assert this claim and
12   violated Rule 11 when they did.
13         II.    Monetary sanctions are appropriate
14         To malign Elizarov, Goldwater and its counsel turned a simple collection
15   dispute into a major fraud case. Since the complaint was filed, nearly all discovery
16   and litigation in this case centered around Goldwater’s non-contract claims,
17   including fraud, conspiracy, and fraudulent transfer. Counselors engaged in
18   discovery, including invasive fishing expeditions into Elizarov’s and Alekseyeff’s
19   private affairs, based on allegations that relied on deliberately false claims made
20   under oath by the bank’s president but subsequently contradicted by Goldwater’s
21   own records and later testimony under oath by the same bank president. Under
22   these circumstances, if the court concludes that counselors violated Rule 11, then
23   the court should also compensate Elizarov for all the unnecessary work that his
24   counsel Alekseyeff had to do to rebut – with Goldwater’s own evidence – each of
25   the malicious and deliberately false claims asserted in the complaint.
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            REPLY MEMORANDUM SUPPORTING MOTION FOR RULE 11
                             SANCTIONS
 Case 5:21-cv-00616-JWH-SP Document 206 Filed 10/07/22 Page 17 of 17 Page ID #:3992




 1   Dated: 10/06/2022                 LOIA, INC. (APLC)
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 4                                     By: Ilya Alekseyeff
                                       Attorney for Artur Elizarov
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           REPLY MEMORANDUM SUPPORTING MOTION FOR RULE 11
                            SANCTIONS
